Case 96-54979 Doc1241-5 Filed 11/08/07. Pagelof1
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September 5, 2007

Joel I. Sher, Esquire

Shapiro Sher Guinot & Sandler, P.A.
36 South Charles Street, Suite 2000
Baltimore, MD 21201-3147

Re: Bankruptcy Estate of G. Ware Travelstead; Case No. 96-54979

Dear Joel:

As you are aware, this firm represents Storage USA, now known as Extra Space Storage,
in regard to the above-referenced case. Your firm has been responsible for paying storage fees
owed to Storage USA/Extra Space Storage for storage units Nos. 16, 59, and 352. As you are
aware, on March 15, 2007, I sent to Anne Lawrence of your office a letter explaining that the
storage fees owed for these units were substantially delinquent and demanded payment of all fees
immediately. Despite that letter and the numerous telephone calls over the past 6 months to you
and/or Anne Lawrence requesting the payment of these storage fees, no fees have ever been paid
to my client. In addition, additional fees have accrued on all three units since my March 15,
2007 letter. Although I have tried many, many times to resolve this matter amicably, my client
has not received payment. As a result, if these fees are not paid within the next ten days, then
my client will have no other choice but to file a motion for payment of post-petition fees and
request, as part of the motion, payment of any attorneys’ fees incurred in attempting to collect
these fees. Attorneys’ fees in collecting post-petition debt have been awarded under similar
facts. See In re Geonex Corp., 258 B.R. 336 (Bankr. D. Md. 2001). If you have any questions
concerning this matter, please do not hesitate to contact me.

Very truly yours,
Mar Ebersole

MFE:ead

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